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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SETH BRUNNER,                                        Case No. 21-cv-03992-SK
                                   8                       Plaintiff,
                                                                                              ORDER GRANTING STIPULATION
                                   9             v.                                           TO REMAND
                                  10     AVALON BAY COMMUNITES INC.,
                                                                                              Regarding Docket No. 30
                                  11                       Defendant.

                                  12
Northern District of California
 United States District Court




                                  13                                               STIPULATION
                                  14          IT IS HEREBY STIPULATED, BY AND BETWEEN THE PARTIES TO THE
                                  15   ABOVE-ENTITLED ACTION, through their counsel of record, that good cause exists to remand
                                  16   this case back to state court, Superior Court of California, County of Santa Clara Case with
                                  17   reference to case number 3:21-cv-03992 SK.
                                  18          WHEREAS Plaintiff, SETH BRUNNER is a citizen of California, and the added
                                  19   defendant, DOE 2, DEVCON CONSTRUCTION INCORPORATED, is a citizen of California,
                                  20   the filing of the Plaintiff’s First Amended Complaint affects the Court’s diversity jurisdiction
                                  21   under 28 U.S.C. 1332.
                                  22          Plaintiff SETH BRUNNER and Defendant AVALONBAY COMMUNITIES, INC.
                                  23   therefore propose the following order:
                                  24                  1.         To remand the action to state court on the ground that the court lacks
                                  25          jurisdiction because the added defendant (DOE 2) in the Second Amended Complaint,
                                  26          DEVCON CONSTRUCTION INCORPORATED, maintains its principal place of business
                                  27          in California and thereby destroys the complete diversity of citizenship among the parties.
                                  28
                                           Case 3:21-cv-03992-SK Document 32 Filed 07/28/22 Page 2 of 2




                                   1   DATED: July 28, 2022                                 SHEA & SHEA

                                   2
                                                                                    By: _______________________
                                   3                                                     MICHAEL M. SHEA JR.
                                   4                                                      Attorney for Plaintiff

                                   5

                                   6   DATED: July 19, 2022                         MANNING GROSS + MASSENBURG LLP

                                   7
                                                                                    By: _______________________
                                   8                                                        CARLOS K. POZA
                                   9                                                      Counsel for Defendant
                                                                                          AVALONBAY COMMUNITIES, INC.
                                  10

                                  11                                                ORDER
                                  12
Northern District of California




                                              Good cause appearing, the Court HEREBY GRANTS the stipulation of the parties to
 United States District Court




                                  13   remand the action to state court on the ground that the court lacks jurisdiction because the added
                                  14   defendant (DOE 2) in the Second Amended Complaint, DEVCON CONSTRUCTION
                                  15   INCORPORATED, maintains its principal place of business in California and thereby destroys the
                                  16   complete diversity of citizenship among the parties. The Court ORDERS that the case be
                                  17   REMANDED. The Clerk of Court is directed to transfer the case and close the file.
                                  18          IT IS SO ORDERED.
                                  19   Dated: July 28, 2022
                                  20                                                   ______________________________________
                                  21                                                   SALLIE KIM
                                                                                       United States Magistrate Judge
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